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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                ___________

                                         No. 20-2692
                                         __________

                                    JOHN J. CARR, IV,
                                                Appellant

                                               v.

                     SRA INTERNATIONAL, INC.; CSRA INC.
                     ____________________________________

                    On Appeal from the United States District Court
                             for the District of New Jersey
                        (D.C. Civil Action No. 1-18-cv-01034)
                      District Judge: Honorable Renée M. Bumb
                     ____________________________________

                   Submitted Pursuant to Third Circuit LAR 34.1(a)
                                   May 20, 2021
               Before: AMBRO, PORTER and SCIRICA, Circuit Judges
                                   ___________

                                        JUDGMENT
                                        ___________

       This cause came to be considered on the record from the United States District
Court for the District of New Jersey and was submitted pursuant to Third Circuit LAR
34.1(a) on May 20, 2021. On consideration whereof, it is now hereby

       ORDERED and ADJUDGED by this Court that the judgment of the District Court
entered August 6, 2020, be and the same is hereby affirmed. Costs taxed against the
appellant. All of the above in accordance with the opinion of this Court.

                                                            ATTEST:

                                                            s/ Patricia S. Dodszuweit
                                                            Clerk
Dated:       June 4, 2021
                             Certified as a true copy and issued in lieu
                             of a formal mandate on July 14, 2021


                            Teste:
                            Clerk, U.S. Court of Appeals for the Third Circuit
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Costs taxed in favor of Appellees CSRA Inc. and SRA International Inc as follows:

Brief        $ 68.40
Appendix     $150.00
TOTAL        $218.40




               Certified as a true copy and issued in lieu
               of a formal mandate on July 15, 2021 (Amended)


              Teste:
              Clerk, U.S. Court of Appeals for the Third Circuit
